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17    UNITED STATES OF AMERICA
18                            UNITED STATES DISTRICT COURT

19                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

20    UNITED STATES OF AMERICA,                No. CR 20-579(A)-SVW-4

21               Plaintiff,                    PLEA AGREEMENT FOR DEFENDANT
                                               TAMARA DADYAN
22                     v.

23    RICHARD AYVAZYAN,
        aka “Richard Avazian” and
24          “Iuliia Zhadko,”
      MARIETTA TERABELIAN,
25      aka “Marietta Abelian” and
            “Viktoria Kauichko,”
26    ARTUR AYVAZYAN,
        aka “Arthur Ayvazyan,” and
27    TAMARA DADYAN,
      MANUK GRIGORYAN,
28      aka “Mike Grigoryan,” and
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1           “Anton Kudiumov,”
      ARMAN HAYRAPETYAN,
2     EDVARD PARONYAN,
        aka “Edvard Paronian” and
3           “Edward Paronyan,” and
      VAHE DADYAN,
4
                 Defendants.
5

6
           1.    This constitutes the plea agreement between TAMARA DADYAN
7
      (“defendant”) and the United States Attorney’s Office for the Central
8
      District of California and the United States Department of Justice,
9
      Criminal Division, Fraud Section (collectively referred to herein as
10
      “the Offices”) in the above-captioned case.         This agreement is
11
      limited to the Offices and cannot bind any other federal, state,
12
      local, or foreign prosecuting, enforcement, administrative, or
13
      regulatory authorities.
14
                                 DEFENDANT’S OBLIGATIONS
15
           2.    Defendant agrees to:
16
                 a.    At the earliest opportunity requested by the Offices
17
      and provided by the Court, appear and plead guilty to counts 1, 24,
18
      and 26 of the first superseding indictment in United States v.
19
      Richard Ayvazyan et al., CR No. 20-579(A)-SVW, which charge defendant
20
      with conspiracy to commit wire fraud and bank fraud, aggravated
21
      identity theft, and conspiracy to commit money laundering, in
22
      violation of 18 U.S.C. § 1349, 18 U.S.C. § 1028A(a)(1), and 18 U.S.C.
23
      § 1956(h), respectively.
24
                 b.    Not contest facts agreed to in this agreement.
25
                 c.    Abide by all agreements regarding sentencing contained
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      in this agreement.
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1                d.    Appear for all court appearances, surrender as ordered

2     for service of sentence, obey all conditions of any bond, and obey

3     any other ongoing court order in this matter.

4                e.    Not commit any crime; however, offenses that would be

5     excluded for sentencing purposes under United States Sentencing

6     Guidelines (“U.S.S.G.” or “Sentencing Guidelines”) § 4A1.2(c) are not

7     within the scope of this agreement.

8                f.    Be truthful at all times with the United States

9     Probation and Pretrial Services Office and the Court.
10               g.    Pay the applicable special assessments at or before
11    the time of sentencing unless defendant has demonstrated a lack of
12    ability to pay such assessments.
13               h.    Ability to pay shall be assessed based on the
14    Financial Disclosure Statement, referenced below, and all other
15    relevant information relating to ability to pay.
16               i.    Defendant agrees that any and all restitution/fine
17    obligations ordered by the Court will be due in full and immediately.
18    The government is not precluded from pursuing, in excess of any

19    payment schedule set by the Court, any and all available remedies by

20    which to satisfy defendant’s payment of the full financial

21    obligation, including referral to the Treasury Offset Program.

22               j.    Complete the Financial Disclosure Statement on a form

23    provided by the Offices and, within 30 days of defendant’s entry of a

24    guilty plea, deliver the signed and dated statement, along with all

25    of the documents requested therein, to the Offices by either email at

26    usacac.FinLit@usdoj.gov (preferred) or mail to the United States

27    Attorney’s Office Financial Litigation Section at 300 N. Los Angeles

28    St., Suite 7516, Los Angeles, CA 90012.

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1                k.    Authorize the Offices to obtain a credit report upon

2     returning a signed copy of this plea agreement.

3                l.    Consent to the Offices inspecting and copying all of

4     defendant’s financial documents and financial information held by the

5     United States Probation and Pretrial Services Office.

6          3.    Defendant further agrees:

7                a.    To forfeit all right, title, and interest in and to

8     any and all monies, properties, and/or assets of any kind, derived

9     from or acquired as a result of the illegal activity to which
10    defendant is pleading guilty, specifically including, but not limited
11    to, the following:
12                     i.    $12,520.00 in U.S. Currency seized during the
13    execution of a federal search warrant on November 5, 2020, in Encino,
14    California, at the residence of defendant and Artur Ayvazyan;
15                     ii.   $3,032.23 in bank funds seized pursuant to a
16    federal seizure warrant executed on or about January 22, 2021, from
17    Bank of the West account ending in ‘0531 in the name of Tamara
18    Dadyan; and

19                     iii. $189,430.85 in bank funds seized pursuant to a

20    federal seizure warrant executed on or about January 22, 2021, from

21    Bank of the West account ending in ‘5682 in the name of Proactive

22    Home Health Care Inc.

23                     iv.   Certain real property referred to in the first

24    superseding indictment as Residential Property 1, located at 4910

25    Topeka Drive, Tarzana, in the County of Los Angeles, State of

26    California, APN 2176-029-031;

27                     v.    Certain real property referred to in the first

28    superseding indictment as Residential Property 2, located at 834

                                            4
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1     Calle La Primavera, Glendale, in the County of Los Angeles, State of

2     California, APN 5663-036-033; and

3                      vi.   Certain real property referred to in the first

4     superseding indictment as Residential Property 3, located at 74203

5     Anastacia Lane, Palm Desert, in the County of Riverside, State of

6     California, APN 694-331-008(collectively, the “Forfeitable

7     Property”).

8     (collectively, the “Forfeitable Property”).

9                b.    To the Court’s entry of an order of forfeiture at or
10    before sentencing with respect to the Forfeitable Property and to the
11    forfeiture of the assets.
12               c.    That the Preliminary Order of Forfeiture shall become
13    final as to the defendant upon entry.
14               d.    To take whatever steps are necessary to pass to the
15    United States clear title to the Forfeitable Property, including,
16    without limitation, the execution of a consent decree of forfeiture
17    and the completing of any other legal documents required for the
18    transfer of title to the United States.

19               e.    Not to contest any administrative forfeiture

20    proceedings or civil judicial proceedings commenced against the

21    Forfeitable Property.     If defendant submitted a claim and/or petition

22    for remission for all or part of the Forfeitable Property on behalf

23    of herself or any other individual or entity, defendant shall and

24    hereby does withdraw any such claims or petitions, and further agrees

25    to waive any right she may have to seek remission or mitigation of

26    the forfeiture of the Forfeitable Property.         Defendant further waives

27    any and all notice requirements of 18 U.S.C. § 983(a)(1)(A).
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1                f.    Not to assist any other individual in any effort

2     falsely to contest the forfeiture of the Forfeitable Property.

3                g.    Not to claim that reasonable cause to seize the

4     Forfeitable Property was lacking.

5                h.    To prevent the transfer, sale, destruction, or loss of

6     the Forfeitable Property to the extent defendant has the ability to

7     do so.

8                i.    To fill out and deliver to the Offices a completed

9     financial statement listing defendant’s assets on a form provided by
10    the Offices.
11               j.    That forfeiture of Forfeitable Property shall not be
12    counted toward satisfaction of any special assessment, fine,
13    restitution, costs, or other penalty the Court may impose.
14               k.    With respect to any criminal forfeiture ordered as a
15    result of this plea agreement, defendant waives: (1) the requirements
16    of Federal Rules of Criminal Procedure 32.2 and 43(a) regarding
17    notice of the forfeiture in the charging instrument, announcements of
18    the forfeiture at sentencing, and incorporation of the forfeiture in

19    the judgment; (2) all constitutional and statutory challenges to the

20    forfeiture (including by direct appeal, habeas corpus or any other

21    means); and (3) all constitutional, legal, and equitable defenses to

22    the forfeiture of the Forfeitable Property in any proceeding on any

23    grounds including, without limitation, that the forfeiture

24    constitutes an excessive fine or punishment.         Defendant acknowledges

25    that the forfeiture of the Forfeitable Property is part of the

26    sentence that may be imposed in this case and waives any failure by

27    the Court to advise defendant of this, pursuant to Federal Rule of

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1     Criminal Procedure 11(b)(1)(J), at the time the Court accepts

2     defendant’s guilty plea.

3                               THE OFFICES’ OBLIGATIONS

4          4.    The Offices agree to:

5                a.    Not contest facts agreed to in this agreement.

6                b.    Abide by all agreements regarding sentencing contained

7     in this agreement.

8                c.    At the time of sentencing, move to dismiss the

9     remaining counts of the first superseding indictment and the
10    underlying indictment as against defendant.         Defendant agrees,
11    however, that at the time of sentencing the Court may consider any
12    dismissed charges in determining the applicable Sentencing Guidelines
13    range, the propriety and extent of any departure from that range, and
14    the sentence to be imposed.
15               d.    At the time of sentencing, provided that defendant
16    demonstrates an acceptance of responsibility for the offense up to
17    and including the time of sentencing, recommend a two-level reduction
18    in the applicable Sentencing Guidelines offense level, pursuant to

19    U.S.S.G. § 3E1.1.     The defendant understands and agrees that the

20    Offices will not move for a third point for acceptance of

21    responsibility, pursuant to U.S.S.G. § 3E1.1(b), and defendant agrees

22    that a reduction pursuant to U.S.S.G. § 3E1.1(b) for acceptance of

23    responsibility is not appropriate or warranted based on defendant’s

24    plea one (1) day prior to trial.

25                               NATURE OF THE OFFENSES

26         5.    Defendant understands that for defendant to be guilty of

27    the crime charged in count one, that is, Conspiracy to commit wire

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1     fraud and bank fraud, in violation of Title 18, United States Code,

2     Section 1349, the following must be true:

3                First, beginning by at least in or about March 2020, and

4     continuing to at least in or about October 2020, there was an

5     agreement between two or more persons to commit at wire fraud, in

6     violation of Section 1343 of Title 18 of the United States Code,

7     and/or bank fraud, in violation of Section 1344(2) of Title 18 of the

8     United States Code; and

9                Second, the defendant became a member of the conspiracy
10    knowing of at least one of its objects and intending to help

11    accomplish it.

12         6.    The objects of the conspiracy charged in count one are wire

13    fraud and bank fraud.     In order for a person to be found guilty of

14    wire fraud, in violation of 18 U.S.C. § 1343, the following must be

15    true:

16               First, the person knowingly participated in or devised a

17    scheme or plan to defraud, or a scheme or plan for obtaining money or

18    property by means of false or fraudulent pretenses, representations,

19    or promises.    Deceitful statements of half-truths may constitute

20    false or fraudulent representations;

21               Second, the statements made or facts omitted as part of the

22    scheme were material; that is, they had a natural tendency to

23    influence, or were capable of influencing, another person to part

24    with money or property;

25               Third, the person acted with the intent to defraud, that

26    is, the intent to deceive and cheat; and

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1                Fourth, the person used, or caused to be used, an

2     interstate wire communication to carry out or attempt to carry out an

3     essential part of the scheme.

4          In order for a person to be found guilty of bank fraud, in

5     violation of 18 U.S.C. § 1344(2), the following must be true:

6                First, the person knowingly carried out a scheme or plan to

7     obtain money or property from a financial institution by making false

8     statements or promises;

9                Second, the person knew that the statements or promises
10    were false;

11               Third, the statements or promises were material; that is,

12    they had a natural tendency to influence, or were capable of

13    influencing, a financial institution to part with money or property;

14               Fourth, the person acted with the intent to defraud; and

15               Fifth, the financial institution was federally insured.

16         7.    Defendant understands that for defendant to be guilty of

17    the crime charged in count 24, that is, aggravated identity theft, in

18    violation of Title 18, United States Code, Section 1028A(a)(1), the

19    following must be true:

20               First, defendant knowingly possessed without legal

21    authority a means of identification of another person;

22               Second, defendant knew that the means of identification

23    belonged to a real person; and

24               Third, defendant did so during and in relation to bank

25    fraud, in violation of 18 U.S.C. § 1344(2), as charged in count

26    nineteen of the first superseding indictment.         The government need

27    not establish that the means of identification of another person was

28    stolen.

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1           8.    Defendant understands that for defendant to be guilty of

2     the crime charged in count 26, that is, Conspiracy to commit money

3     laundering, in violation of Title 18, United States Code, Section

4     1956(h), the following must be true:

5                 First, Defendant agreed with one of more co-conspirators to

6     engage in money laundering, in violation of Section 1956(a)(1)(B)(i)

7     of Title 18 of the United States Code; and

8                 Second, the defendant became a member of the conspiracy

9     knowing of its object and intending to help accomplish it.
10          9.    The object of the conspiracy charged in count 26 is money

11    laundering, in violation of Section 1956(a)(1)(B)(i) of Title 18.                In

12    order for a person to be found guilty of that offense, the following

13    must be true:

14                First, the person conducted a financial transaction

15    involving property that represented the proceeds of wire fraud;

16                Second, the person knew that the property represented the

17    proceeds of some form of unlawful activity; and

18                Third, the person knew that the transaction was designed in

19    whole or in part to conceal or disguise the nature, location, source,

20    ownership, and/or control of such proceeds.

21                              PENALTIES AND RESTITUTION

22          10.   Defendant understands that the statutory maximum sentence

23    that the Court can impose for a violation of Title 18, United States

24    Code, Section 1349, as charged in count one, is: 30 years’

25    imprisonment; a five-year period of supervised release; a fine of

26    $1,000,000 or twice the gross gain or gross loss resulting from the

27    offense, whichever is greatest; and a mandatory special assessment of

28    $100.

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1           11.   Defendant understands that the statutory maximum sentence

2     that the Court can impose for a violation of Title 18, United States

3     Code, Section 1028A(a)(1), as charged in count 24 of the first

4     superseding indictment, is: two years’ imprisonment; a three-year

5     period of supervised release; a fine of $250,000 or twice the gross

6     gain or gross loss resulting from the offense, whichever is greatest;

7     and a mandatory special assessment of $100.

8           12.   Defendant understands that the statutory mandatory minimum

9     sentence that the Court must impose for a violation of Title 18,
10    United States Code, Section 1028A(a)(1), as charged in count 24 of
11    the first superseding indictment, is a two-year term of imprisonment,
12    which must run consecutive to any other sentence of imprisonment, and
13    a mandatory special assessment of $100.
14          13.   Defendant understands that the statutory maximum sentence
15    that the Court can impose for a violation of Title 18, United States
16    Code, Section 1956(h), as charged in count 26, is: 20 years’
17    imprisonment; a three-year period of supervised release; a fine of
18    $500,000 or twice the gross gain or gross loss resulting from the

19    offense, whichever is greatest; and a mandatory special assessment of

20    $100.

21          14.   Defendant understands, therefore, that the total maximum

22    sentence for all offenses to which defendant is pleading guilty is:

23    52 years’ imprisonment; a 5-year period of supervised release; a fine

24    of $1,750,000 or twice the gross gain or gross loss resulting from

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1     the offenses, whichever is greatest; and a mandatory special

2     assessment of $300. 1

3           15.   Defendant understands that defendant will be required to

4     pay full restitution to the victims of the offenses to which

5     defendant is pleading guilty.       Defendant agrees that, in return for

6     the Offices’ compliance with its obligations under this agreement,

7     the Court may order restitution to persons other than the victims of

8     the offenses to which defendant is pleading guilty and in amounts

9     greater than those alleged in the counts to which defendant is
10    pleading guilty.     In particular, defendant agrees that the Court may
11    order restitution to any victim of any of the following for any
12    losses suffered by that victim as a result: (a) any relevant conduct,
13    as defined in U.S.S.G. § 1B1.3, in connection with the offenses to
14    which defendant is pleading guilty; and (b) any counts dismissed and
15    charges not prosecuted pursuant to this agreement as well as all
16    relevant conduct, as defined in U.S.S.G. § 1B1.3, in connection with
17    those counts and charges.       The parties currently believe that the
18    applicable amount of restitution is approximately $18,016,141.26, but

19    recognize and agree that this amount could change based on facts that

20    come to the attention of the parties prior to sentencing.

21          16.   Defendant understands that supervised release is a period

22    of time following imprisonment during which defendant will be subject

23    to various restrictions and requirements.         Defendant understands that

24

25          1Defendant understands that there is case law suggesting that
      the term of supervised release on count 24 could be imposed to run
26    consecutively to the term of supervised release imposed on counts one
      and 26. While the Offices do not intend to seek a consecutive term
27    of supervised release, defendant understands that if the Court were
      to impose a consecutive term of supervised release, the maximum term
28    of supervised release for the counts of conviction would be eight
      years, rather than five years as stated in the text above.
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1     if defendant violates one or more of the conditions of any supervised

2     release imposed, defendant may be returned to prison for all or part

3     of the term of supervised release authorized by statute for the

4     offense that resulted in the term of supervised release, which could

5     result in defendant serving a total term of imprisonment greater than

6     the statutory maximum stated above.

7           17.   Defendant understands that, by pleading guilty, defendant

8     may be giving up valuable government benefits and valuable civic

9     rights, such as the right to vote, the right to possess a firearm,
10    the right to hold office, and the right to serve on a jury. Defendant
11    understands that she is pleading guilty to felonies and that it is a
12    federal crime for a convicted felon to possess a firearm or
13    ammunition.    Defendant understands that the convictions in this case
14    may also subject defendant to various other collateral consequences,
15    including but not limited to revocation of probation, parole, or
16    supervised release in another case and suspension or revocation of a
17    professional license.      Defendant understands that unanticipated
18    collateral consequences will not serve as grounds to withdraw

19    defendant’s guilty pleas.

20          18.   Defendant and her counsel have discussed the fact that, and

21    defendant understands that, if defendant is not a United States

22    citizen, the convictions in this case make it practically inevitable

23    and a virtual certainty that defendant will be removed or deported

24    from the United States.      Defendant may also be denied United States

25    citizenship and admission to the United States in the future.

26    Defendant understands that while there may be arguments that

27    defendant can raise in immigration proceedings to avoid or delay

28    removal, removal is presumptively mandatory and a virtual certainty

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1     in this case.     Defendant further understands that removal and

2     immigration consequences are the subject of a separate proceeding and

3     that no one, including his/her attorney or the Court, can predict to

4     an absolute certainty the effect of his/her convictions on his/her

5     immigration status.      Defendant nevertheless affirms that he/she wants

6     to plead guilty regardless of any immigration consequences that

7     his/her pleas may entail, even if the consequence is automatic

8     removal from the United States.

9                                      FACTUAL BASIS
10          19.   Defendant admits that defendant is, in fact, guilty of the

11    offenses to which defendant is agreeing to plead guilty.            Defendant

12    and the Offices agree to the statement of facts provided below and

13    agree that this statement of facts is sufficient to support pleas of

14    guilty to the charges described in this agreement and to establish

15    the Sentencing Guidelines factors set forth in paragraph 21 below but

16    is not meant to be a complete recitation of all facts relevant to the

17    underlying criminal conduct or all facts known to either party that

18    relate to that conduct.

19          Beginning in or about March 2020, defendant agreed with her

20    husband, co-defendant Artur Ayvazyan; her brother-in-law, co-

21    defendant Richard Ayvazyan; her sister-in-law, co-defendant Marietta

22    Terabelian; her cousin, co-defendant Vahe Dadyan, and others to

23    submit fraudulent applications for loans through the Paycheck

24    Protection Program (“PPP”) and the Economic Injury Disaster Loan

25    (“EIDL”) program to lenders, including federally-insured financial

26    institutions A, B, C, D, E, G, and H, and non-federally insured

27    lending institution F, as identified in the first superseding

28    indictment, and the United States Small Business Administration

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1     (“SBA”).    The false and fraudulent information defendant agreed with

2     co-defendants Richard Ayvazyan, Marietta Terabelian, Artur Ayvazyan,

3     Vahe Dadyan and others to provide to those lenders and the SBA

4     included: false applicant names, false information about the number

5     of employees and payroll of the businesses purportedly applying for

6     the loans, and false information about the owners of the bank

7     accounts into which the loan proceeds would be deposited, all of

8     which information was material to the SBA and the lenders.

9           Defendant and her co-conspirators, Richard Ayvazyan, Artur
10    Ayvazyan, Marietta Terebelian, and others used and caused to be used
11    stolen, fictitious, and synthetic identities of other individuals,
12    including persons out of the country and a dead person, as well as
13    the names of businesses not controlled by defendant or her co-
14    conspirators, in order to submit false and fraudulent applications
15    for EIDL and PPP loans.      This information included, but was not
16    limited to, names used by co-defendant Richard Ayvazyan like “Iuliia
17    Zhadko,” and names used by co-defendant Marietta Terabelian, like
18    “Viktoria Kauichko.”      The information also included false and

19    fraudulent payroll reports and IRS Forms 940 and 941 that purported

20    to confirm the number of employees and amount of payroll expenses;

21    false certifications that the loan proceeds would be used for

22    permissible business purposes; and the names of identity theft

23    victims, including the names of dead people.

24          Defendant further conspired and agreed with her husband, Artur

25    Ayvazyan, to create false and fraudulent documentation in support of

26    loans, including through the use of templates for creating false and

27    fraudulent documents that were found on Artur Ayvazyan’s phone.

28    Defendant further admits that records and items found at her

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1     residence, at which she lived with co-defendant Artur Ayvazyan,

2     included: fake identification documents; fraudulently obtained credit

3     cards belonging to fake, synthetic and stolen identities including

4     names used to apply for PPP and EIDL loans; checks and checkbooks in

5     the names of individuals and businesses who applied for PPP and EIDL

6     loans; copies of PPP and EIDL loan applications including in her own

7     name and the names of others; and fake and stolen notary stamps and

8     seals belonging to state and federal courts.

9           Defendant submitted and caused to be submitted, and aided and
10    abetted the submission of at least 151 fraudulent PPP and EIDL
11    applications as part of the conspiracy and scheme in which she was a
12    participant along with Richard Ayvazyan, Marietta Terabelian, Artur
13    Ayvazyan, Vahe Dadyan, and others.         Furthermore, text messages
14    obtained from defendant’s phone showed that defendant explicitly
15    discussed plans for the conspiracy with co-defendant Richard
16    Ayvazyan, including how to submit PPP and EIDL applications; how to
17    obtain and falsify Employer Identification Numbers (“EINs”) for
18    businesses in PPP and EIDL applications; and how to create fake

19    payroll reports.

20          Defendant also agreed with co-defendants Richard Ayvazyan,

21    Marietta Terabelian, Artur Ayvazyan, Vahe Dadyan, and others that the

22    fraudulently obtained loan proceeds would be used to pay for personal

23    expenses and not used to pay for authorized expenses under the PPP

24    and EIDL programs.     In order to make these unauthorized payments,

25    including for personal expenses, defendant agreed with co-defendants

26    Richard Ayvazyan, Marietta Terabelian, Artur Ayvazyan, Vahe Dadyan,

27    and others to cause the fraudulently obtained loan proceeds to move

28    through bank accounts over which defendant and co-defendants Richard

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1     Ayvazyan, Marietta Terabelian, Artur Ayvazyan, and Vahe Dadyan, and

2     others had signatory authority, in order to conceal the true nature

3     and source of the funds flowing through the accounts.

4           For example, in furtherance of the conspiracy to commit wire

5     fraud and bank fraud, on or about April 22, 2020, defendant, together

6     with co-defendants Richard Ayvazyan, Marietta Terabelian, Artur

7     Ayvazyan, and others, submitted and caused to be submitted to Wells

8     Fargo bank an application in the name of Secureline Realty and

9     Funding, Inc. (“Secureline Realty”) seeking a PPP loan in the amount
10    of $122,838, which application: (a) falsely represented that
11    Secureline Realty had eight employees, including employees for whom
12    it had paid wages and payroll taxes; and (b) falsely certified
13    Secureline Realty would use the loan proceeds only for permissible
14    business purposes.     On or about May 9, 2020, defendant, together with
15    other co-conspirators, submitted and caused to be submitted to
16    Comerica Bank another application in the name of Secureline Realty
17    seeking a second PPP loan, this one in the amount of $137,500, which
18    application again falsely represented that Secureline Realty had

19    eight employees, including employees for whom it had paid wages and

20    payroll taxes, and falsely certified Secureline Realty would use the

21    loan proceeds only for permissible business purposes.

22          In reliance on the false statements and representations in the

23    applications, on or about May 7, 2020, Wells Fargo identified as

24    Lender D in the first superseding indictment) deposited, by means of

25    interstate wire, approximately $122,838 into a Wells Fargo bank

26    account in the name of Secureline Realty, and on or about May 11,

27    2020, Comerica Bank (identified as Lender E in the first superseding

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1     indictment) deposited, by means of interstate wire, $137,500 into a

2     Comerica Bank account in the name of Secureline Realty.

3           Thereafter, defendant, together with co-defendant Richard

4     Ayvazyan and others, caused a check for approximately $136,000 to be

5     drawn on May 27, 2020, on the Secureline Realty account at Comerica

6     Bank, and a check for approximately $120,010 to be drawn on June 12,

7     2020, on the Secureline Realty account at Wells Fargo.           Defendant,

8     together with co-defendant Richard Ayvazyan and others, caused both

9     checks to be deposited into other bank accounts, including a Bank of
10    America account for Inception Ventures for which co-defendant Richard
11    Ayvazyan was the sole signatory.        As defendant knew and agreed, these
12    monies were the proceeds of unlawful activity, and specifically, the
13    PPP and EIDL bank and wire fraud scheme.         The defendant and her co-
14    conspirators then wired and caused to be wired these fraud proceeds
15    to Encore Escrow, and co-defendants Richard Ayvazyan and Marietta
16    Terebelian used such proceeds as part of the purchase price of their
17    personal residence on Topeka Avenue, in Tarzana, California.
18          As another example of the actions taken in furtherance of the

19    conspiracy, defendant agreed with co-defendant Vahe Dadyan to

20    fraudulently apply for a PPP loan in the name of Vahe Dadyan’s

21    company Voyage Limo.      On May 18, 2020, defendant and her co-

22    conspirators submitted and caused the submission of a PPP loan

23    application to Celtic Bank that falsely stated that Voyage Limo had

24    11 employees and average monthly payroll expenses of $63,000, and

25    that Voyage Limo would use the loan proceeds solely for business-

26    related purposes.     Defendant and her co-conspirators also submitted

27    and caused the submission of fake IRS Forms 940 and 941 to Celtic

28    Bank in support of the PPP loan application.          On May 18, 2020, in

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1     reliance on the false information in the application, Celtic Bank

2     deposited, by means of an interstate wire, $157,000 to a Voyage Limo

3     bank account over which co-defendant Vahe Dadyan had signatory

4     authority.    In furtherance of the conspiracy, on July 3, 2020, co-

5     defendant Vahe Dadyan, working together with the defendant and

6     others, caused $155,000 of the fraudulently obtained PPP loan

7     proceeds to be wired to a Bank of America account in the name of

8     Runyan Tax Services, held in the name of “Viktoria Kauichko,” a name

9     defendant knew was used in furtherance of the bank fraud and wire
10    fraud and money laundering conspiracy.         The co-conspirators,
11    including Richard Ayvazyan and Marietta Terebelian, then used these
12    PPP-derived funds as part of a down payment on a property located on
13    Calle La Primavera, in Glendale, California, which was purchased in
14    the name of “Iuliia Zhadko,” which the defendant and her co-
15    conspirators knew was used by co-defendant Richard Ayvazyan.
16          As a further example of the conspiracy, on or about August 13,
17    2020, defendant and her husband, co-defendant Artur Ayvazyan,
18    submitted via interstate wiring an application for a $244,500 PPP

19    loan to Newtek Small Business Finance in the name of “A.D. DBA Six

20    Star Farms.”    Defendant and co-defendant Artur Ayvazyan knew that the

21    application included false information; namely, that the business had

22    22 employees including employees for whom A.D. paid wages and payroll

23    taxes, and that A.D. would use the loan proceeds only for permissible

24    purposes.    In support of the application, defendant and co-defendant

25    Artur Ayvazyan submitted to Newtek Small Business Finance a

26    California Driver’s license purportedly belonging to A.D., and a fake

27    Form 941, which falsely represented that it had been prepared by

28    A.F., a professional tax preparer, and signed by A.D.           Defendant knew

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1     that A.D. and A.F. were real persons.         In truth and in fact, as the

2     defendant well knew, neither A.D. nor A.F. authorized the defendant,

3     co-defendant Artur Ayvazyan, or any of the other co-conspirators to

4     use their names or identifying information.          On or about August 17,

5     2020, in reliance on the false and fraudulent information included in

6     the PPP loan application defendant and co-defendant Artur Ayvazyan

7     had submitted, Newtek Small Business Finance deposited by means of an

8     interstate wire approximately $244,500 to a bank account at Capital

9     One in the name of A.D. that co-defendant Artur Ayvazyan controlled.
10          During the course of the conspiracy and in furtherance of it,
11    defendant and her co-conspirators, Richard Ayvazyan, Marietta
12    Terebelian, Artur Ayvazyan, and others, submitted and caused the
13    submission of approximately 151 PPP and EIDL loan applications
14    containing false and fraudulent information by which they attempted
15    to obtain approximately $21.9 million and did obtain approximately
16    $18,016,141.26.     By submitting materially false and fraudulent
17    documentation in support of the PPP and EIDL loan applications, and
18    by making materially false and fraudulent statements to SBA-approved

19    and FDIC-insured lenders, defendant knowingly, and with the intent to

20    defraud, schemed to obtain, and obtained, funds under the custody and

21    control of Lenders A, B, C, D, E, G, and H, and placed such lenders

22    at risk of financial loss.       The conspiracy was carried out using

23    sophisticated means, including the use of false businesses, stolen

24    identities, a network of bank accounts opened in the names of those

25    false businesses, and the production of fraudulent documents

26    including identity documents.       Indeed, the defendant used coordinated

27    and repetitive steps to carry out and conceal the scheme, including

28    falsifying tax and payroll documents and using bank accounts with

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1     deceptive names to conceal the nature, location, source, and

2     ownership of PPP and EIDL loan proceeds.

3                                   SENTENCING FACTORS

4           20.   Defendant understands that in determining defendant’s

5     sentence the Court is required to calculate the applicable Sentencing

6     Guidelines range and to consider that range, possible departures

7     under the Sentencing Guidelines, and the other sentencing factors set

8     forth in 18 U.S.C. § 3553(a).       Defendant understands that the

9     Sentencing Guidelines are advisory only, that defendant cannot have
10    any expectation of receiving a sentence within the calculated
11    Sentencing Guidelines range, and that after considering the
12    Sentencing Guidelines and the other § 3553(a) factors, the Court will
13    be free to exercise its discretion to impose any sentence it finds
14    appropriate between the mandatory minimum and up to the maximum set
15    by statute for the crimes of conviction.
16          21.   Defendant and the USAO agree to the following applicable
17    Sentencing Guidelines factors:
18        Base Offense Level:                      7                   [U.S.S.G.
                                                          §§ 2X1,1; 2b1.1(a)(1)]
19        Specific Offense
          Characteristics
20                                                           [U.S.S.G. §§ 2X1,1;
          Amount of loss >$9,500,000             +20             2B1.1(b)(1)(K)]
21
          Sophisticated Means:                    +2       [U.S.S.G. § §§ 2X1,1;
22                                                           2B1.1(b)(10)(C)] ]
          Conviction under 18 U.S.C.              +2
23        § 1956                                       [U.S.S.G. § 2S1.1(b)(2)(B)

24
      Defendant and the Offices reserve the right to argue that additional
25
      specific offense characteristics, adjustments, and departures under
26
      the Sentencing Guidelines are appropriate.          Defendant further
27
      understands that the Court must sentence defendant to a term of two
28

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1     (2) years imprisonment on count 24, which must run consecutive to any

2     term of imprisonment imposed for counts one and 26.

3           22.   Defendant understands that there is no agreement as to

4     defendant’s criminal history or criminal history category.

5           23.   Defendant and the Offices reserve the right to argue for a

6     sentence outside the sentencing range established by the Sentencing

7     Guidelines based on the factors set forth in 18 U.S.C. § 3553(a)(1),

8     (a)(2), (a)(3), (a)(6), and (a)(7).

9                            WAIVER OF CONSTITUTIONAL RIGHTS
10          24.   Defendant understands that by pleading guilty, defendant

11    gives up the following rights:

12                a.    The right to persist in a plea of not guilty.

13                b.    The right to a speedy and public trial by jury.

14                c.    The right to be represented by counsel –- and if

15    necessary have the Court appoint counsel – at trial.           Defendant

16    understands, however, that, defendant retains the right to be

17    represented by counsel –- and if necessary have the Court appoint

18    counsel –- at every other stage of the proceeding.

19                d.    The right to be presumed innocent and to have the

20    burden of proof placed on the government to prove defendant guilty

21    beyond a reasonable doubt.

22                e.    The right to confront and cross-examine witnesses

23    against defendant.

24                f.    The right to testify and to present evidence in

25    opposition to the charges, including the right to compel the

26    attendance of witnesses to testify.

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1                 g.    The right not to be compelled to testify, and, if

2     defendant chose not to testify or present evidence, to have that

3     choice not be used against defendant.

4                 h.    Any and all rights to pursue any affirmative defenses,

5     Fourth Amendment or Fifth Amendment claims, and other pretrial

6     motions that have been filed or could be filed.

7                            WAIVER OF APPEAL OF CONVICTION

8           25.   Defendant understands that, with the exception of an appeal

9     based on a claim that defendant’s guilty pleas were involuntary, by
10    pleading guilty defendant is waiving and giving up any right to
11    appeal defendant’s convictions on the offenses to which defendant is
12    pleading guilty.     Defendant understands that this waiver includes,
13    but is not limited to, arguments that the statutes to which defendant
14    is pleading guilty are unconstitutional, and any and all claims that
15    the statement of facts provided herein is insufficient to support
16    defendant’s pleas of guilty.
17                     LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE

18          26.   Defendant agrees that, provided the Court, before

19    imposition of the mandatory consecutive sentence of two (2) years’

20    imprisonment on count 24, imposes a term of imprisonment no more than

21    the high-end of the Sentencing Guidelines range calculated by the

22    Court, defendant gives up the right to appeal all of the following:

23    (a) the procedures and calculations used to determine and impose any

24    portion of the sentence; (b) the term of imprisonment imposed by the

25    Court; (c) the fine imposed by the Court, provided it is within the

26    statutory maximum; (d) to the extent permitted by law, the

27    constitutionality or legality of defendant’s sentence, provided it is

28    within the statutory maximum; (e) the amount and terms of any

                                            23
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1     restitution order, provided it requires payment of no more than

2     $18,016,141.26; (f) the term of probation or supervised release

3     imposed by the Court, provided it is within the statutory maximum;

4     and (g) any of the following conditions of probation or supervised

5     release imposed by the Court: the conditions set forth in Second

6     Amended General Order 20-04 of this Court; the drug testing

7     conditions mandated by 18 U.S.C. §§ 3563(a)(5) and 3583(d); and the

8     alcohol and drug use conditions authorized by 18 U.S.C. § 3563(b)(7).

9           27.   The Offices agree that, provided (a) all portions of the
10    sentence are at or above the statutory minimum and at or below the
11    statutory maximum specified above and (b) before imposition of the
12    mandatory consecutive sentence of two (2) years’ imprisonment on
13    count 24, the Court imposes a term of imprisonment no less than the
14    low-end of the Sentencing Guidelines range calculated by the Court,
15    the Offices give up their right to appeal any portion of the
16    sentence, with the exception that the Offices reserve the right to
17    appeal the amount of restitution ordered if that amount is less than
18    $18,016,141.26.

19                        RESULT OF WITHDRAWAL OF GUILTY PLEA

20          28.   Defendant agrees that if, after entering guilty pleas

21    pursuant to this agreement, defendant seeks to withdraw and succeeds

22    in withdrawing defendant’s guilty pleas on any basis other than a

23    claim and finding that entry into this plea agreement was

24    involuntary, then (a) the Offices will be relieved of all of their

25    obligations under this agreement; and (b) should the Offices            choose

26    to pursue any charge that was either dismissed or not filed as a

27    result of this agreement, then (i) any applicable statute of

28    limitations will be tolled between the date of defendant’s signing of

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1     this agreement and the filing commencing any such action; and

2     (ii) defendant waives and gives up all defenses based on the statute

3     of limitations, any claim of pre-indictment delay, or any speedy

4     trial claim with respect to any such action, except to the extent

5     that such defenses existed as of the date of defendant’s signing this

6     agreement.

7                      RESULT OF VACATUR, REVERSAL OR SET-ASIDE

8           29.   Defendant agrees that if any count of conviction is

9     vacated, reversed, or set aside, the Offices may: (a) ask the Court
10    to resentence defendant on any remaining counts of conviction, with
11    both the Offices and defendant being released from any stipulations
12    regarding sentencing contained in this agreement, (b) ask the Court
13    to void the entire plea agreement and vacate defendant’s guilty pleas
14    on any remaining counts of conviction, with the Offices and defendant
15    being released from all their obligations under this agreement, or
16    (c) leave defendant’s remaining convictions, sentence, and plea
17    agreement intact.     Defendant agrees that the choice among these three
18    options rests in the exclusive discretion of the Offices.

19                             EFFECTIVE DATE OF AGREEMENT

20          30.   This agreement is effective upon signature and execution of

21    all required certifications by defendant, defendant’s counsel, and an

22    attorney for the Offices.

23                                  BREACH OF AGREEMENT

24          31.   Defendant agrees that if defendant, at any time after the

25    effective date of this agreement, knowingly violates or fails to

26    perform any of defendant’s obligations under this agreement (“a

27    breach”), the Offices may declare this agreement breached.            All of

28    defendant’s obligations are material, a single breach of this

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1     agreement is sufficient for the Offices to declare a breach, and

2     defendant shall not be deemed to have cured a breach without the

3     express agreement of the Offices in writing.          If the Offices declares

4     this agreement breached, and the Court finds such a breach to have

5     occurred, then: (a) if defendant has previously entered guilty pleas

6     pursuant to this agreement, defendant will not be able to withdraw

7     the guilty pleas, and (b) the Offices will be relieved of all their

8     obligations under this agreement.

9           32.   Following the Court’s finding of a knowing breach of this
10    agreement by defendant, should the Offices choose to pursue any
11    charge that was either dismissed or not filed as a result of this
12    agreement, then:
13                a.    Defendant agrees that any applicable statute of
14    limitations is tolled between the date of defendant’s signing of this
15    agreement and the filing commencing any such action.
16                b.    Defendant waives and gives up all defenses based on
17    the statute of limitations, any claim of pre-indictment delay, or any
18    speedy trial claim with respect to any such action, except to the

19    extent that such defenses existed as of the date of defendant’s

20    signing this agreement.

21                c.    Defendant agrees that: (i) any statements made by

22    defendant, under oath, at the guilty plea hearing (if such a hearing

23    occurred prior to the breach); (ii) the agreed to factual basis

24    statement in this agreement; and (iii) any evidence derived from such

25    statements, shall be admissible against defendant in any such action

26    against defendant, and defendant waives and gives up any claim under

27    the United States Constitution, any statute, Rule 410 of the Federal

28    Rules of Evidence, Rule 11(f) of the Federal Rules of Criminal

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1     Procedure, or any other federal rule, that the statements or any

2     evidence derived from the statements should be suppressed or are

3     inadmissible.     Defendant also agrees that any such statements can be

4     used to cross-examine her should she take the stand at trial of any

5     co-defendant or in any other matter.

6              COURT AND UNITED STATES PROBATION AND PRETRIAL SERVICES

7                                   OFFICE NOT PARTIES

8           33.   Defendant understands that the Court and the United States

9     Probation and Pretrial Services Office are not parties to this
10    agreement and need not accept any of the Offices’ sentencing
11    recommendations or the parties’ agreements to facts or sentencing
12    factors.
13          34.   Defendant understands that defendant and the Offices are
14    free to: (a) supplement the facts by supplying relevant information
15    to the United States Probation and Pretrial Services Office and the
16    Court, (b) correct any and all factual misstatements relating to the
17    Court’s Sentencing Guidelines calculations and determination of
18    sentence, and (c) argue on appeal and collateral review that the

19    Court’s Sentencing Guidelines calculations and the sentence it

20    chooses to impose are not error, although each party agrees to

21    maintain its view that the calculations in paragraph 21 are

22    consistent with the facts of this case.         While this paragraph permits

23    the Offices and defendant to submit full and complete factual

24    information to the United States Probation and Pretrial Services

25    Office and the Court, even if that factual information may be viewed

26    as inconsistent with the facts agreed to in this agreement, this

27    paragraph does not affect defendant’s and the Offices’ obligations

28    not to contest the facts agreed to in this agreement.

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1           35.   Defendant understands that even if the Court ignores any

2     sentencing recommendation, finds facts or reaches conclusions

3     different from those agreed to, and/or imposes any sentence up to the

4     maximum established by statute, defendant cannot, for that reason,

5     withdraw defendant’s guilty pleas, and defendant will remain bound to

6     fulfill all defendant’s obligations under this agreement.            Defendant

7     understands that no one –- not the prosecutor, defendant’s attorney,

8     or the Court –- can make a binding prediction or promise regarding

9     the sentence defendant will receive, except that it will be between
10    the statutory mandatory minimum and the statutory maximum.
11                               NO ADDITIONAL AGREEMENTS

12          36.   Defendant understands that, except as set forth herein,

13    there are no promises, understandings, or agreements between the

14    Offices and defendant or defendant’s attorney, and that no additional

15    promise, understanding, or agreement may be entered into unless in a

16    writing signed by all parties or on the record in court.

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